        Case 2:18-cv-00160-MO         Document 198      Filed 11/17/21     Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                     PENDLETON DIVISION


D. JEANETTE FINICUM et al,

Plaintiffs,                                                              No. 2:18-cv-00160-MO

        V.                                                         ORDER TO SHOW CAUSE

UNITED STATES OF AMERICA et al,

Defendants.



MOSMAN,J.,

        On October 15, 2021, Plaintiffs filed their Third Amended Complaint [ECF 189]. Two

Motions to Dismiss were subsequently filed-one on October 28, 2021, [ECF 191] and the other

on October 29, 2021, [ECF 193]. The deadline for Plaintiffs to respond to both motions passed

on November 15, 2021. Plaintiff has not filed a response. Therefore, per Local Rule 41-2(a), IT

IS ORDERED that Plaintiff must appear in writing within ten days from the date of this order to

show cause why this case should not be dismissed for want of prosecution. If no appearance is

made, this case will be dismissed.


        DATED this.iday ofNovember, 2021.




1 - ORDER TO SHOW CAUSE
